          Case 20-10324         Doc 86 Filed 04/30/20 Entered 04/30/20 14:02:34                        Desc
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                                    UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF MASSACHUSETTS


In Re:   Barry Wisner Chapin,                                        Chapter: 7
         Debtor                                                      Case No: 20−10324
                                                                     Judge Janet E. Bostwick



                                     NOTICE OF TELEPHONIC HEARING

PLEASE TAKE NOTICE that a HEARING will be held on 5/27/20 at 11:15 AM before the Honorable Judge
Janet E. Bostwick, Courtroom 3, J.W. McCormack Post Office & Court House, 5 Post Office Square, 12th Floor,
Boston, MA 02109−3945 to consider the following:

           [61] Motion filed by Creditor Hingham Institution for Savings for Relief from Stay Re: 34
           Fairfield St Unit 2, Boston, MA.

           BECAUSE OF THE CONCERNS ABOUT COVID19, ALL PARTICIPANTS,
           INCLUDING ATTORNEYS, THE DEBTOR(S), WITNESSES, AFFIANTS, AND
           OTHER ATTENDEES SHALL APPEAR BY TELEPHONE, AND MAY NOT APPEAR
           IN PERSON. TO APPEAR TELEPHONICALLY, ATTENDEES SHALL, AT THE
           APPOINTED TIME OF HEARING, DIAL (877) 3361839 AND ENTER ACCESS
           CODE 1378281#.

OBJECTION/RESPONSE DEADLINE:

If no deadline is set, the objection/response deadline shall be governed by the Federal Rules of Bankruptcy
Procedure (FRBP) and the Massachusetts Local Bankruptcy Rules (MLBR). If no objection/response is timely
filed, the Court, in its discretion, may cancel the hearing and rule on the motion without a hearing or further notice.
See MLBR 9013−1(f).


THE MOVING PARTY IS RESPONSIBLE FOR:

     1. Serving a copy of this notice upon all parties entitled to notice within two (2) business days; and

     2. Filing a certificate of service with respect to this notice seven (7) days after the date of issuance set forth
        below. If the hearing date is fewer than seven (7) days from the date of issuance, the certificate of service
        must be filed no later than the time of the hearing. If the movant fails to timely file a certificate of
        service, the court may deny the motion without a hearing.

NOTICE TO ALL PARTIES SERVED:

     1. Your rights may be affected. You should read this notice, the above referenced pleading and any related
        documents carefully and discuss them with your attorney, if you have one. If you do not have an attorney,
        you may wish to consult one.

     2. Any request for a continuance MUST be made by WRITTEN MOTION filed and served at least one (1)
        business day prior to the hearing date. See MLBR 5071−1.

     3. The above hearing shall be nonevidentiary. If, in the course of the nonevidentiary hearing, the court
        determines the existence of a disputed and material issue of fact, the court will schedule an evidentiary
        hearing. If this is a hearing under section 362, it will be a consolidated preliminary and final
        nonevidentiary hearing unless at the conclusion thereof the court schedules an evidentiary hearing.


Date:4/30/20                                                         By the Court,

                                                                     Cynthia Young
                                                                     Deputy Clerk
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                                                                            617−748−5321

Emergency Closings: To find out if the Court will be closed in case of stormy weather or other emergency, dial (617) 748−5314 or (866)
419−5695 (toll free) for a recorded message.
